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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION



 DEWAYNE GRIFFIN-LOWERY,

              Plaintiff,

 v

 COUNTY OF WAYNE, BENNY N.
 NAPOLEON, Sheriff of Wayne County,
 JERIEL D. HEARD, MATTHEW JOHN
 CZARNECKI, and DOUGLAS HUGHES,
 jointly and severally,

              Defendants.
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 POSNER, POSNER AND POSNER
 By: Gerald F. Posner – P 24269
 Attorneys for Plaintiff
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                           COMPLAINT AND DEMAND FOR JURY TRIAL


                                                JURISDICTION


               NOW COMES plaintiff, by and through his attorneys, Posner, Posner and

 Posner, and states that this action is brought pursuant to 42 U.S.C. §§ 1983, 1988 and

 the Fourth, Fifth, Eighth and Fourteenth Amendments to the United States Constitution.

 Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1343 and the aforementioned

 statutory and constitutional provisions.




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                                 VIOLATION OF CIVIL RIGHTS


              NOW COMES plaintiff, by and through his attorneys, Posner, Posner and

 Posner, and complains against the defendants herein, jointly and severally, in an action

 for violation of his civil rights, and says:

              1.    That the plaintiff is a citizen of the State of Michigan and is a resident

 of Detroit, Michigan, and of this judicial district.

              2.    That the defendants are citizens of the State of Michigan and are

 residents of this judicial district.

              3.    That at all times herein, the defendants were acting in concert and/or

 combination and/or conspiracy with each other and/or with other persons.

              4.    That at all times herein, the defendants were acting under color of

 state law.

              5.    That at all times herein, the defendants were acting in bad faith.

              6.    That defendant County of Wayne is a governmental unit and/or entity.

              7.    That the defendant, Bennie N. Napoleon, who is being sued in his

 official capacity, is the Sheriff of Wayne County, and the Wayne County Sheriff

 Department is and was under the complete control, direction and supervision of the

 Sheriff.

              8.    That at all times relevant hereto, defendant Sheriff was the person in

 charge of and responsible for the operation of the Wayne County Sheriff Department,

 and the hiring, training, retention, and discipline of all sheriff deputies, and all jail

 personnel, and all policy matters relating thereto.




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            9.     That the defendant, Jeriel D. Heard, who is being sued in his official

 capacity, is, and at all times relevant hereto was, the Chief of Jails and Courts, Office of

 the Sheriff of Wayne County, and that the operation of the jails, including the Wayne

 County Jail, by the Wayne County Sheriff Department is and was under his control,

 direction and supervision.

            10.    That at all times relevant hereto, defendant Sheriff and/or Heard was

 the person in charge of and responsible for the operation of the Wayne County Jail, the

 custody and safety of the prisoners incarcerated therein, the formulation of policy

 regarding the operation of the jail, the hiring, training, retention, and discipline of all jail

 personnel, whatever their titles and duties, and the rules, regulations, practice, custom

 and/or usage regarding the operation of the jail, and that said jail was under his or their

 complete control, direction and supervision.

            11.    That at all times relevant hereto, defendant Sheriff, together with Chief

 Heard, was the law enforcement arm of the defendant County and the individual who

 made policy in police matters for the County, and specifically in matters regarding the

 operation of the Jail, and, both as a matter of fact and a matter of law, the relationship

 between the County and the Sheriff and the Sheriff's Department is so close as to make

 the County liable for any and all unconstitutional policy, practice, custom or usage of

 said Sheriff and Chief which violated the civil and constitutional rights of the plaintiff.

            12.    That on or about 9-5-08 and 9-6-08, defendants MATTHEW JOHN

 CZARNECKI, and DOUGLAS HUGHES, each of whom is being sued in his individual

 capacity, were Deputy Sheriffs employed by the County of Wayne and the Wayne

 County Sheriff’s Department.




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            13.    That on or about 9-5-08 and 9-6-08, plaintiff was incarcerated at the

 Wayne County Jail.

            14.    That on or about 9-5-08, plaintiff had an argument with defendant

 Czarnecki, who was working at the Wayne County Jail, over the inmate recreation

 period, and defendant threatened the plaintiff.

            15.    That after said argument, plaintiff went back to his cell in the 4th Floor

 N.W., which was a floor for psychiatric inmates.

            16.    That this is a floor to which certain deputies are assigned who have

 special training to handle psychiatric inmates.

            17.    That defendant Czarnecki had no such training nor was he a regularly

 assigned deputy to that floor.

            18.    That on 9-6-08, defendant Czarnecki, assisted by other deputies,

 employees, and/or defendant Hughes, got himself assigned to the floor and/or was let in

 to the floor, and was let into the plaintiff’s cell by defendant Hughes.

            19.    That while plaintiff was sleeping in his cell on the top bunk, and at a

 time when there was no reason, legal justification or excuse for the use of excessive

 force upon him, defendant Czarnecki entered plaintiff’s cell, pulled him down from his

 bunk onto the floor, and intentionally, wantonly, willfully, maliciously, oppressively and

 wrongfully beat, struck and assaulted the plaintiff, including repeatedly punching and

 kicking the plaintiff, and making statements such as “Now talk about my mother”.

            20.    That said officer used excessive, unreasonable, unnecessary and

 unconstitutional force when no such force was justified or necessary.




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             21.     Further, that defendant Hughes had both the duty and the power to

 prevent or aid in the prevention of the commission of said wrongful acts against the

 plaintiff, and prevent the violation of his civil and constitutional rights, but neglected or

 refused to do so.

             22.     Specifically, defendant Hughes had both the duty and the power to

 stop the assault upon the plaintiff, but failed to do so.

             23.     That a Corporal Maurice Lewis arrived at the ward and told defendant

 Hughes to call a code for other officers to come and help stop the fight, but defendant

 Hughes did not do so.

             24.     That Lewis told defendant Czarnecki to stop assaulting the plaintiff, but

 defendant continued to strike and assault the plaintiff.

             25.     That defendant Hughes did nothing to stop defendant Czarnecki from

 assaulting and pummeling the plaintiff, and did not intervene or call a code or take any

 action until the plaintiff began to successfully defend himself.

             26.     That the unjustifiable and unconstitutional assault upon the plaintiff

 caused serious and permanent injuries to plaintiff, both physical and mental injuries,

 and great pain and suffering as hereinafter set forth.

             27.     That plaintiff had a right to be protected from intentional, wanton,

 willful, malicious, sadistic, purposeful, deliberate, grossly negligent, recklessly

 indifferent, deliberately indifferent, and wrongful conduct by the said deputies and

 governmental/official capacity defendants which conduct resulted in injuries to the

 plaintiff and in violation of plaintiff's civil rights.




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             28.    Defendants had a duty toward the plaintiff under the United States

 Constitution and the federal civil rights laws, specifically including 42 USC § 1983, and

 the Fifth, Eighth and Fourteenth Amendments to the United States Constitution, to

 refrain from acting or failing to act so as to violate plaintiff's civil rights.

             29.    Each of the defendants breached his duties to the plaintiff and violated

 plaintiff's civil rights by the acts and omissions and failures to act, as pled herein.

             30.    That it was the policy, practice, custom and usage of official capacity

 defendants Sheriff, County, and Chief, to encourage violations of the civil rights of

 persons by conduct and inaction which was grossly negligent and/or deliberately

 indifferent to the civil rights of persons and to constitutional violations by their jail

 personnel, including deputies and other personnel, and adopting, ratifying, or

 implementing such policy, practice, custom and usage, which conduct and inaction

 included, but is not limited to:

             (a)    Failure to correct unconstitutional conditions and practices.

             (b)    Failure to completely and properly investigate all prior complaints of
                    misconduct against prisoners and/or to take proper disciplinary action
                    against deputies guilty of such misconduct.

             (c)    Failure to promulgate and enforce regulations regarding the proper
                    treatment of prisoners and for the intervention by those who witness
                    the mistreatment of persons at the hands of other deputies and have
                    the power to prevent same.

             (d)    Failure to take proper disciplinary action against deputies and other
                    personnel who had mistreated prisoners.

             (e)    Failing to promulgate, follow, and enforce rules, regulations, practices
                    and procedures requiring all deputies and personnel who enter a
                    psychiatric ward to have special training to handle psychiatric inmates.




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              (f)   Failure to supervise and/or to take proper disciplinary action against
                    individuals who enter a psychiatric ward without special training or who
                    allow persons without that training into the psychiatric ward.

              (g)   Inadequate, grossly inadequate, or non-existent training and
                    supervision of jail personnel, including deputies, in the handling of and
                    interaction with psychiatric inmates.

              (h)   Allowing a pervasive and established pattern of constitutional violations
                    to become a de facto policy by failing to take action against same or to
                    prevent same.

              (i)   Failing to give adequate and proper psychological tests to prospective
                    deputies.

              (j)   Failing to give periodic adequate and proper psychological tests to
                    deputies in order to relieve those found to be psychologically unfit or
                    give them adequate treatment.

              (k)   Failing to adequately and properly investigate the employment history,
                    background and fitness of persons it hired as deputies.

              (l)   Failing to promulgate, follow, and enforce regulations concerning
                    checking the employment history, background, and fitness, and
                    psychological fitness of persons being hired as deputies.

              (m)   Inadequate hiring practices of all jail personnel, as set forth above, and
                    retaining persons even after their negative employment history,
                    conduct, background, and/or fitness for duty was discovered and/or
                    should have been discovered.

              (n)   Failing to respond promptly, adequately, properly, fully and timely to
                    Freedom of Information requests, as more fully set forth below, and to
                    promulgate, follow and enforce regulations regarding this as set forth
                    below.


              31.   That it is believed that other deputies and/or other personnel were

 involved in the acts of allowing defendant Czarnecki access to the ward and to the

 plaintiff’s cell, in failing to intervene to stop the beating, and in further assaults upon the

 plaintiff in the cell and/or in the bullpen to which he was taken after the assault by

 Czarnecki.




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            32.    That defendants Sheriff, County, and Chief conducted an investigation

 into the incident and assault upon the plaintiff.

            33.    That in an attempt to ascertain the identities of all of the deputies

 and/or other persons involved so that plaintiff would be able to file a legal action against

 them under federal or state law, plaintiff directed multiple Freedom of Information Act

 requests to the above defendants to obtain all records and documents concerning the

 assault, including internal investigation records, which would name and identify all of the

 individuals involved, but that said defendants wrongfully just ignored the requests,

 and/or sent irrelevant matters, and when suit was threatened, defendants agreed to

 supply certain records, charged plaintiff hundreds of dollars, and then only supplied a

 portion of the records in which they redacted each and every name, thus preventing

 plaintiff from discovering the identities of those involved and timely bringing suit.

            34.    That the above defendants fraudulently and wrongfully concealed the

 existence of a cause of action and the identities of the persons who were liable for the

 claims of plaintiff by concealing the identities of the persons involved and failing to

 supply investigative records when they had a duty to make such a disclosure.

            35.    That the above defendants violated the plaintiff’s constitutional rights

 and rights under 42 USC §1983 by denying plaintiff’s right of effective and meaningful

 access to the courts in that their actions foreclosed the plaintiff from learning the

 identities of the proper defendants and filing suit and rendered ineffective and futile any

 remedy plaintiff would have had against them.

            36.    That the policy, practice, custom and usage of the official capacity

 defendants Sheriff, County, and Chief, and their conduct and inaction, was a proximate




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 cause of the violation of each plaintiff's civil rights and of the injuries and damages to

 each plaintiff.

             37.   That plaintiff had a right to be protected from the wrongful conduct by

 those defendants which conduct resulted in injuries and damages to the plaintiff.

             38.   That plaintiff had the following rights, privileges and/or immunities,

 among others, guaranteed to plaintiff under the United States Constitution and laws of

 the United States:

             (a)   the right to due process of law;

             (b)   the right to be free from bodily harm and injury caused unjustifiably
                   when in the care and custody of defendants;

             (c)   the freedom from cruel and unusual punishment;

             (d)   the freedom from unnecessary suffering and from the unnecessary and
                   wanton infliction of pain;

             (e)   the freedom from illegal and/or unreasonable search and seizure of his
                   person;

             (f)   the freedom from arbitrary and unreasonable interference by law
                   enforcement officers and jail personnel;

             (g)   the freedom from unnecessary force;

             (h)   the freedom to be secure in one's person;

             (i)   the right to equal protection of the laws; and

             (j)   the right to liberty; and

             (k)   the right to meaningful and effective access to the courts.


             40.   That the policy, practice, custom and usage of defendants Sheriff,

 County, Chief, and other official capacity defendants and their conduct and inaction,




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  was a proximate cause of the violation of plaintiff's civil rights and of the injuries and

  damages to the plaintiff.

             39.    That the plaintiff had a right to be protected from the wrongful conduct

  by official capacity defendants Sheriff, County, Chief, and by the other defendants,

  which conduct resulted in injuries and damages to the plaintiff.

             40.    That by reason of the wrongful conduct by all defendants, plaintiff was

  deprived of the rights, privileges and/or immunities guaranteed plaintiff by the United

  States Constitution and laws as set forth above.

             41.    That the wrongful conduct by defendants constituted a violation of the

  civil rights of plaintiff and a violation of 42 USC §1983.

             42.    That the defendants, acting under color of law and right, by said

  wrongful conduct, deprived plaintiff of the civil rights guaranteed plaintiff by 42 USC

  §1983 of the laws of the United States in effect at the time of the injuries inflicted upon

  the plaintiff by said defendants, said statute reading as follows:

                 "Every person who, under color of any statute, ordinance,
         regulation, custom or usage, or any State or Territory, subjects or causes
         to be subjected, any citizen of the United States or other person within the
         jurisdiction thereof to the deprivation of any rights, privileges or immunities
         secured by the Constitution and laws, shall be liable to the party injured in
         an action at law, suit in equity, or other proper proceeding for redress."


             43.    That as a direct and proximate result of said wrongful conduct by said

  defendants as pled herein, plaintiff sustained serious and permanent injuries to his body

  and person, including but not limited to injuries to his head, face, eyes, back, neck,

  shoulders, ribs, arms, and legs, mental and psychological injuries, and aggravation of

  any and all pre-existing conditions of same.




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             44.    That plaintiff's injuries are continuing and are permanent in nature.

             45.    That as a direct and proximate result of said wrongful conduct, plaintiff

  has suffered, and will in the future continue to suffer, great pain and suffering, mental

  anguish, fright and shock, disability, embarrassment, humiliation, and denial of social

  pleasures and enjoyments.

             46.    That as a direct and proximate result of the intentional, wanton, willful,

  malicious, and oppressive manner in which said wrongful conduct was committed,

  plaintiff suffered, and will in the future continue to suffer, additional great mental

  anguish, embarrassment, outrage, fright and shock, mortification, indignity and

  humiliation.

             47.    That as a direct and proximate result of said wrongful conduct, plaintiff

  was forced to undergo, and will in the future continue to undergo medical treatment and

  care, was forced, and in the future will continue to be forced, to expend large sums of

  money and incur bills for hospital and medical treatment, and for medicines, x-rays,

  testing and drugs.

             48.    That as a direct and proximate result of said wrongful conduct, plaintiff

  has suffered, and will in the future continue to suffer, great loss of earnings and/or

  earning capacity.

             49.    Furthermore, plaintiff sustained damages consisting of the loss of the

  value of any cause of action lost as a result of the wrongful conduct of defendants,

  including the violations of civil rights, as alleged herein.

             50.    That as a direct and proximate result of said wrongful conduct, plaintiff

  incurred substantial liabilities for attorney fees.




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             WHEREFORE, plaintiff asks judgment for compensatory damages as well as

  exemplary damages in the amount of Two Million ($2,000,000.00) Dollars against all of

  the defendants, jointly and severally, plus punitive damages against the individual

  defendants in the amount of Two Million ($2,000,000.00) Dollars, plus actual reasonable

  attorney fees pursuant to 42 USC § 1988, plus statutory interest, court costs and

  attorney fees.

                   DEMAND IS HEREBY MADE FOR TRIAL BY JURY



                                      POSNER, POSNER AND POSNER



                                      _/s/Gerald F. Posner_____________________
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